Case 6:13-CV-06498-.]WF Document 339

`UNITED STA'I'ES DISTRICT C'OUR.T
WESTERN DISTRICT O`F NEW YOR.K

 

 

BAUSCH & LOMB INCORPORATED and
WYETH LLC,

Plaintiffs, ORDER
v. 13-c`v-6498

VITAMIN HEALTH, INC.,

Defendant.

 

Currently pending before the Court are: (1) Vitamin Health's
motion to exclude the expert testimony of Micnael E. Tate (Docket #
246); (2) Bausch & Lomb’s motion to exclude the expert testimony of
Jon Tepp (Docket # 249); (3} Vitamin Health's motion to exclude the
expert testimony of Susan B. Bressler (Docket # 251); (4) Vitamin
Health's motion to exclude the expert testimony of Elizabeth J.
Johnson {Docket # 253); (5) Bausch & Lomb’s motion. to exclude
certain_ expert testimony of Jerry Rapp (Docket '# 254); and {6)
Bausch & Lomb’s motion to exclude Jerome Sherman from testifying at
`trial (Docket # 255). 'The parties submitted responses on May 20,
2016, and replies were filed on May 27, 2016. On July 15, 2016,
after reviewing the parties’ submissions, the Court issued a ruling
n on. the record, reserving decision on Bausch & Lomb's motion to
exclude certain. expert testimony' of Jerry” Rapp and. denying the
rest. Accordingly, and for the reasons set forth more fully in the

Court’s oral decision, it is hereby

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ORDEREP that Vitamin Health’s motion to exclude the expert
testimony of Michael E. Tate (Docket # 246} is denied. Tate will
be permitted to testify as to damages subject to cross-examination
at trial; and it is further

ORDERED that Bausch & Lomb's motion. to exclude the expert
testimony' of Jon. Tepp (Docket #` 249) is denied. Tepp will be
permitted to testify as to damages subject to cross-examination at
trial; and it is further

ORDERED that Vitamin, Health’s motion to exclude the expert
testimony of Susan B. Bressler (Docket # 251) is denied. Vitamin
Health's objections to Bressler's testimony have been resolved by
this Court's claim construction, and Bressler will be permitted to
testify at trial subject to cross-examination; and it is further

ORDERED that Vitamin Health's motion- to exclude the expert
testimony of Elizabeth J. Johnson (Docket # 7253) is denied.
Johnson will be permitted to testify at trial subject to cross-
examination; and it is further

ORDERED that Bausch & Lomb’s motion to exclude Jerome Sherman
from testifying (Docket # 255) is denied. Sherman will be
permitted to testify as to the validity of the patents subject to
cross-examination. Sherman will not be permitted. to rely on
undisclosed publications in his testimony; and its further

ORDERED, having been informed by counsel for Vitamin Health

that Jerry Rapp will no longer be testifying as an expert witness

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at trial, that Bausch & l@mb'srnmtion to exclude certain expert
testimony of Jerry Rapp (Docket # 254) is moot.

SO ORDERED .

 

 

Dated: July 28, 2916
Rochester, New York

